    b .       <" ".
                                                                                                              Admeouoad /2 /3
-         B6I (Official Form 61) (12/07)
                                                                                                          CaseNo. 3!/3 " b k— jc'S9 3
g               ,n ,, &AAAES /JC'B 8 AAO,                                                                                              (if known)
                                         Debtor


                                  SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.


                      Debtor's Marital                                          DEPENDENTS OF DEBTOR AND SPOUSE
                      Status:
                      GUgk L—                RELATIONSHIP(S):                                                                         AGE(S):
                                                                                                                                                                ~j
                      Employment:                                    DEBTOR                                                  SPOUSE     2
                                                                                                                                        tng"                 '=
                                                                                                                                                             lo
                      Occupation                          D                                                                             »"                  m
                      Name of Employ"        S7"&1« Of             AAlXO/UL ^7                                                          J=                  C-J
                      How long CttiPloyed                                                                                                      ' i : '                      'l
                                                                                                                                        ·" "    -F   '

                      Address of Employer             3j yits                                                                                    "j'"' " "
                                                                                                                                                 ' . ;t;'               m
                                                                                                                                        :- ')K              »           d
                                                                                                                                        ;':6                =
                                                                                                                                       Y4~                  ~m~


                                                                                                                                                            C3
                                                                                                                                       CJ C:                    qF qp

                INCOME: (Estimate of average or projected monthly income at time           DEBTOR                      SPOUSE          Z "<                 O
                             case filed)                                                                                               >                        r

                                                                                           $ '% 6')/. '9"/             $                                    +




                l. Monthly gross wages, salary, and commissions
                     (Prorate if not paid monthly)                                         $        C)                 $
                2. Estimate monthly overtime

                3. SUBTOTAL                                                                    $3 OJ/.°Y""               $
                4. LESS PAYROLL DEDUCTIONS
                   a. Payroll taxes and social security                                    $ /'93,00                   $
                   b. Insurance                                                            $ //MI¶'7                   S
                   c. Union dues                                                           $         C'                $
                   d. Other (Specify):                                                     $         C'                $

                5. SUBTOTAL OF PAYROLL DEDUCTIONS                                              $ /3G7.S?7 $
                6. TOTAL NET MONTHLY TAKE HOME PAY                                             $ /8O3A"7 $
                7. Regular income from operation of business or profession or farm
                                                                                           $        G)                 $
                        (Attach detailed statement)
                8. Income from real property                                               $        C'                 $
                9. Interest and dividends                                                  $        O                  $
                 10. Alimony, maintenance or support payments payable to the debtor for
                          the debtor's use or that of dependents listed above
                                                                                           $        O                  $
                 I l. Social security or government assistance
                         (Specify):                                                                                    $
                                                                                           $
                 12. Pension or retirement income
                 13. Other monthly incojne                                                 $                           $
                          (Specify):        kocju-g    Rbju7eo          Ou 7                $ /, Goo. QU               $

                 14. SUBTOTAL OF LINES 7 THROUGH 13                                            $ /) Goa O U             $

                 15. AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14)                    s3 q O3 h' >             $

                 16 COMBINED AVERAGE MONTHLY INCOME: (Combine column                                       $ 3/ ¶O3. °5' 7
                 totals from line 15)                                                       (Report also on Summary of Schedules and, if applicable,
                                                                                            on Statistical Summary of Certain Liabilities and Related Data)

                 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:



                         N\ro/caa-                    =Sj'RA^J uz                   ulluK DE"eRE^sE L'ooo. 0 a &4j QOl'Y

                      Case 2:13-bk-16593-PS                    Doc 50-1 Filed 12/11/13 Entered 12/11/13 15:43:30                                                Desc
                                                                    Schedule Page 1 of 2
 *




. . -..··                                                                        Admejuoka
     b6j (Official Form 6J) (12/07)
                    In ,e &ARU"s                        NuL3BAAlc) ,                                                     CaseNo. a:/j3 -bk-/cg93
                                            Debtor                                                                                             (if known)


                      SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
          Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any payments made bi-
     weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
     allowed on Form22A or 22C.

                  Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled "Spouse."

     1. Rent or home mortgage payment (include lot rented for mobile home)               4                                                                        $G>¶,oO
          a. Are real estate taxes included?              Yes               No     7
          b. Is property insurance included?              Yes               No      yL
     2. Utilities: a. Electricity and heating fuel                                                                                                               $ 'µ.oo
                       b. Water and sewer
                                                                                                                                                                 $ n5,o(j
                       c. Telephone
                                                                                                                                                                 $ 5si, ou
                       d. Other
                                                                                                                                                                 $   c'
     3. Home maintenance (repairs and upkeep)
                                                                                                                                                                 $   o
     4. Food                                                                                                                                                     $ 3oo,o O
     5. Clothing
                                                                                                                                                                 $   c'
     6. Laundry and dry cleaning                                                                                                                                 $        o
     7. Medical and dental expenses                                                                                                                              $        o
     8. Transportation (not including car payments)                                                                                                              $ /oo,qo
     9. Recreation, clubs and entertainment, newspapers, magazines, etc.
                                                                                                                                                                 $    c'
     lO,Charitable contributions                                                                                                                                 $ /n(), ou
     I j .Insurance (not deducted from wages or included in home mortgage payments)
                  a. Homeowner's or renter's                                                                                                                     $ GS. '33
                  b. Life                                                                                                                                        $        O
                  c. Health                                                                                                                                      $        C'
               d. Auto                                                                                                                                           $     5'?, c7cj
               e. Other                                                                                                                                          $        C'
     12. Taxes (not deducted^om wages or included in home mortgage payments)

     (specifj')                   Yropeat '7"
                                                                                                                                                                 ,      72 C/C
     13. Installment payments: (In chapter 1 1, 12, and 13 cases, do not list payments to be included in the plan)

               a. Auto
                                                                                                                                                                 $  6"
               b. Other
                                                                                                                                                                 $   O
               c. Other
                                                                                                                                                                 $   O
     14. Alimony, maintenance, and support paid to others
                                                                                                                                                                 $   O
     15. Payments for support of additional dependents not living at your home                                                                                   $ GT%c)(j
     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
                                                                                                                                                                 $  O
     17. Other
                                                                                                                                                                 $  C'
     18. AVERAGE MONTHLY EXPENSES (Total lines l-17. Report also on Summary of Schedules and,
        if applicable, on the Statistical Summary of Certain Liabilities and Related Data )
                                                                                                                                                             s34/3, DLJ
     19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:




     20. STATEMENT OF MONTHLY NET INCOME
         a. Average monthly income from Line 15 of Schedule l                                                                                                    $3yo3.o(j
         b. Average monthly expenses from Line 18 above                                                                                                          S;'? '1/"4,0 O
         c- Monthly net income (a. minus b.)                                                                                                                     $      ?7O.oO




         Case 2:13-bk-16593-PS                             Doc 50-1 Filed 12/11/13 Entered 12/11/13 15:43:30                                                    Desc
                                                                Schedule Page 2 of 2
